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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 JUDITH FERRENBACH,

                                                                           JUDGMENT

                                    Plaintiff,                             15-CV-6818 (CBA) (SMG)
         v.

UBER TECHNOLOGIES, INC.,

                                     Defendant.
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         A Memorandum and Order of the Honorable Carol Bagley Amon, United States District

 Judge, having been filed on May 16, 2019, granting Uber’s motion to dismiss; it is

        ORDERED and ADJUDGED that Uber’s motion to dismiss is granted; and that this case

 is closed.

 Dated: Brooklyn, New York                                           Douglas C. Palmer
        May 17, 2019                                                 Clerk of Court

                                                               By:   /s/Jalitza Poveda
                                                                     Deputy Clerk
